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            COUNTY

LAND BANK

FAQ's
Q. Is every Lorain County Land Bank vacant parcel available for purchase?

Yes, for the most part vacant land is available for acquisition. There may be exceptions; Lorain County Land Bank
will sometimes choose to hold property that has potential to be redeveloped; either because it is contiguous to other
Land Bank owned property, has economic development or potential for public purpose. Generally neighboring
homeowners may offer to purchase neighboring Land Bank owned vacant lots by contacting our offices.


Q. How can I purchase a Lorain County Land Bank owned property?

Turn in application of interest for the property. Your application will then need to be processed and approved.
Please allow 90 days for your application to be processed. Applications can be found at our web page

                                          http://www.loraincounty.us/landbank

Potential buyers can then submit an offer. If the offer is accepted a purchase agreement will be put together and
processed through a title company.

A successful purchaser will then be responsible for the land and its taxes from that point forward.


Q. How does the Lorain County Land Bank acquire properties?

The Land Bank acquires properties through tax foreclosure, gifts, negotiated purchase, donations and Deed in lieu of
foreclosure. The most common means will be tax foreclosure. Primarily the Land Bank acquires those properties
most needing demolition.

It will be up to each municipality’s code violation personnel to determine if the structure qualifies for demolition
structurally. It may also qualify for demolition if the municipality decides that reclaiming and reutilizing the property
for another use would be beneficial for the community. These guidelines will help communities where “flipping” of low
valued properties has had economic and social repercussions on their neighborhoods. The program will not use
eminent domain as one of its tools.




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Q. How does Lorain County Land Bank clean and maintain all of its properties?

Lorain County Land Bank aims to secure all abandoned structures prior to demolition, clear vacant lots of debris,
brush, and trash,and maintain lawns. Lorain County Land Bank is currently partnering with the municipalities and
local non-profits to maintain all properties inside the county in need of maintenance.



Q. When will the abandoned house on my block be demolished?
The criteria the Lorain County Land Bank uses in selecting a property to be acquired for demolition includes:

·       Abandoned structures that create an immediate danger to neighbors and the community at large;
·       Structures that are dilapidated and/or obsolete tax delinquent
·       Structures that are located within strategic development areas of the Land Bank and its partners; and
·       Nuisance and condemned structures that would help to stabilize neighborhoods.


Once a property is targeted for demolition, Lorain County Land Bank will bid out contracts for its asbestos
abatement and demolition. If the Land Bank is contacted by a locality for emergency demolitions the Land Bank
will take action if warranted. Demolitions are subject to funding availability. To find out the demolition status of a
Land Bank owned structures please contact our offices.




                       Lorain County Land Bank

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